      Case 1:22-cv-00595-MFK                     Document 714              Filed 02/06/25           Page 1 of 1 PageID #: 33115
AO 120 (Rev. 08/10)

                             Mail Stop 8                                                    REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                          FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                           ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                         District of Delaware                                 on the following
       G Trademarks or        ✔ Patents.
                              G             ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
                                            5/3/2022                                            District of Delaware
PLAINTIFF                                                                 DEFENDANT
 10X GENOMICS, INC. and PRESIDENT AND                                       VIZGEN, INC.,
 FELLOWS OF HARVARD COLLEGE,


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 11,021,737                                6/1/2021                 President and Fellows of Harvard College

2 11,293,051                                4/5/2022                 President and Fellows of Harvard College

3 11,293,052                                4/5/2022                 President and Fellows of Harvard College

4 11,293,054                                4/5/2022                 President and Fellows of Harvard College

5 11,299,767                               4/12/2022                 President and Fellows of Harvard College


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer           G Cross Bill       G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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3

4

5


                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


      Closed Closed per D.I. 713 Stipulation of Dismissal



CLERK                                                       (BY) DEPUTY CLERK                                           DATE
       Randall C. Lohan                                        MPB                                                       2/6/2025


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
